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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

JUAN LANDEROS-SANDOVAL                                                   MOVANT/DEFENDANT

v.                                                    CRIMINAL ACTION NO. 3:11CR-10-S-6
                                                         (CIVIL ACTION NO. 3:12CV-558-S)

UNITED STATES OF AMERICA                                             RESPONDENT/PLAINTIFF


                                  MEMORANDUM OPINION

       Movant Juan Landeros-Sandoval filed a pro se motion to vacate, set aside or

correct his sentence pursuant to 28 U.S.C. § 2255 (DN 332). This matter is before the Court for

preliminary consideration pursuant to Rule 4 of the Rules Governing Section 2255 Proceedings

for the United States District Courts.

       A review of the record reveals that Movant filed his § 2255 motion after he was

convicted by a jury but before he was sentenced by the Court. “Section 2255 provides the

primary avenue of relief for federal prisoners ‘claiming the right to release’ as a result of an

unlawful sentence.” Terrell v. United States, 564 F.3d 442, 447 (6th Cir. 2009) (citing 28 U.S.C.

§ 2255(a)). Because Movant filed the § 2255 motion during the pendency of his criminal

proceedings and prior to sentencing, the § 2255 motion was filed prematurely and is subject to

dismissal.

       Further, while Movant was recently sentenced and the Judgment and Commitment Order

entered on January 23, 2013, Movant’s criminal counsel has advised that he will file a notice of

appeal on behalf of Movant. “[I]n the absence of extraordinary circumstances, a district court is

precluded from considering a § 2255 application for relief during the pendency of the applicant’s

direct appeal.” Capaldi v. Pontesso, 135 F.3d 1122, 1124 (6th Cir. 1998). “An application
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under § 2255 is an extraordinary remedy and should not be considered a substitute for direct

appeal. Moreover, determination of the direct appeal may render collateral attack by way of a §

2255 application unnecessary.” Id.; see also Rules Governing Section 2255 Proceedings for the

United States District Courts, Rule 5, Adv. Comm. Notes (advising that while “there is no

jurisdictional bar to the District Court’s entertaining a Section 2255 motion during the pendency

of direct appeal[,] . . . the orderly administration of criminal law precludes considering such a

motion absent extraordinary circumstances”) (quoting Womack v. United States, 395 F.2d 630,

631 (D.C. Cir. 1968)). “Whether extraordinary circumstances exist is a question the answer to

which depends upon the balancing of the need for speedy relief against the need for conservation

of judicial resources.” United States v. Davis, 604 F.2d 474, 485 (7th Cir. 1979).

       The Court concludes that Movant has failed to present any extraordinary circumstances

in this case. Consequently, the Court will deny the § 2255 motion and dismiss the action without

prejudice.

       Before Movant may appeal this Court’s decision, a certificate of appealability (“COA”)

must issue. 28 U.S.C. § 2253(c)(1)(B); Fed. R. App. P. 22(b). A COA may issue “only if the

applicant has made a substantial showing of the denial of a constitutional right.” 28 U.S.C.

§ 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483 (2000). “Where a district court has rejected

the constitutional claims on the merits, . . . [t]he [movant] must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims debatable or

wrong.” Slack v. McDaniel, 529 U.S. at 484. “When,” however, “the district court denies a []

petition on procedural grounds without reaching the prisoner’s underlying constitutional claim, a

COA should issue when the prisoner shows, at least, that jurists of reason would find it debatable


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whether the petition states a valid claim of the denial of a constitutional right and that jurists of

reason would find it debatable whether the district court was correct in its procedural ruling.” Id.

        As the Court is satisfied that no jurists of reason would find its conclusion debatable, a

COA will be denied.

        The Court will enter a separate Order consistent with this Memorandum Opinion.

Date: January 25, 2013




cc:     Movant/Defendant, pro se, Oldham County Jail, 102 W. Main St., LaGrange, KY 40031
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